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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. CV 20-11064 FMO (MRWx) Date September 15, 2021
Title Roe v. Puig
Present: Hon. Michael R. Wilner, U.S. Magistrate Judge
Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys for Plaintiff: Attorneys for Defendant:
n/a n/a
Proceedings: ORDER RE: HEARING ON DISCOVERY MOTIONS
1. Currently pending with the Court are motions to quash defense subpoenas

regarding Plaintiff's businesses (Docket # 117) and phone records (Docket # 132). The
Court sets the matter for an in-person hearing on Friday, September 24, at 10:30 a.m.

2.

The parties may each submit a consolidated supplemental brief (NTE

five pages) to update the Court about the status of the disputes or with further helpful
arguments. The Court would particularly like to know whether the newly-appearing
defense attorney intends to pursue the business discovery (I understand that Mr. Gebelin
signed the motion for the telephone subpoena).

CV-90 (10/08)

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